Case 2:05-Cr-20252-BBD Document 10 Filed 07/11/05 Page 1 of 4 Page|D 11

UNITED sTATEs DISTRICT COURT F“~Eg B‘M~ D'C‘

WESTERN DISTRICT OF TENNESSEE
Western Division 05 JUL l l PH 3‘ 59

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UNITED STATES OF AMERICA CLE:::,' L{'_

  

-v- Case No. 2:05cr20252-01D

CECELIA HARRIS

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel
and the U.S. Attoiney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom Courlroom # 5 on Wednesday July 20, 2005 at 9:30arn.

ADD|T|ONAL CONDIT|ONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 Execute a bond in the amount of $10,000.00 or an agreement to forfeit upon failure to appear as required,
and post with the following amount of money to be deposited into the registry of the Court: 10%.

0 report as directed by the Pretrial Services Office.

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

Th|s document entered on the dockets t l nce
w|th Flulo Manqu§$"m@l‘l°‘vh“” 01-

Case 2:05-Cr-20252-BBD Document 10 Filed 07/11/05 Page 2 of 4 Page|D 12

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a tine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a tenn
of imprisonment of not more than ten years, if the offense is a felony; or a tenn of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the cou.rt. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

(l) an offense punishable by death, life imprisonment or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other fclony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and thatl am aware of the conditions of release. Ipromise
to obey all conditions ofrelease, to appear as directed, and to surrender for service of any sentence imposed. I am aware

of the penalties and sanctions set forth above.
§ ruth t <§AW\§\N>

Signatui'e of Defendant

Cecelia Harris

l63 Wesley Forrest , Apt #101
Memphis, TN 38109

(901) 332-0264

AO 199A Order Setiing Conditions of Re|ease '2'

Case 2:05-Cr-20252-BBD Document 10 Filed 07/11/05 Page 3 of 4 Page|D 13

DlRECT|ONS TO THE UNITED STATES MARSHAL

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Juclicial Off'icer that the defendant has posted bond and/or complied with all other conditions for release, The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Dace: July 11, 2005 …/Wy

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

W The defendant is ORDERED released after processing

AO 199A Order Setttng Condiiions of Release -3-

   

UNITED sATE DISTRICT COURT - WTER DISRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 10 in
case 2:05-CR-20252 Was distributed by faX, mail, or direct printing on
July l3, 2005 to the parties listed.

 

 

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U.S. ATTORNEY'S OFFICE
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Ste. 800

l\/lcmphis7 TN 38103

FPD

FEDERAL PUBLIC DEFENDER
200 chfcrson Ave.

Ste. 200

l\/lcmphis7 TN 38103

Honorablc Bcrnicc Donald
US DISTRICT COURT

